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           EXHIBIT 12
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From:                               Fernandez, Nicole <Nicole.Fernandez@sen.ca.gov>
Sent:                               Wednesday, April 3, 2024 12:52 PM
To:                                 Dyanna Volek (AIR)
Subject:                            RE: Letter of Opposition of Oakland Airport Renaming



   This message is from outside the City email system. Do not open links or attachments from untrusted sources.



Dear Dyanna,

Thank you for checking in but the Senator will be kindly declining the opportunity to send a letter.

Sincerely,

Nicole Fernandez
District Director
Office of Senator Josh Becker
3525 Alameda de las Pulgas
Menlo Park, CA 94025
Office Phone: (650) 233-2724

We've moved! Please note new address and phone number above.

From: Dyanna Volek (AIR) <Dyanna.Volek@flysfo.com>
Sent: Tuesday, April 2, 2024 11:51 AM
To: Fernandez, Nicole <Nicole.Fernandez@sen.ca.gov>
Subject: Letter of Opposition of Oakland Airport Renaming

Good morning,

You may have seen the recent press around Oakland Airport's proposal to rename the OAK airport the "San
Francisco Oakland Bay International Airport." I'm reaching out to see if Senator Becker would write a letter of
opposition to the Port of Oakland. I have attached a letter that Director Satero has sent.

The Port of Oakland has calendared the item for their April 11th meeting (item 6.2). SFO's press release in
response linked     . We would appreciate the support.

Thank you for your consideration,
Dyanna Volek




Dyanna Volek (preferred pronouns: she/her/hers)

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                                                                                                       CCSF (PRA)-001519
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Manager I Government Affairs
San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
Tel 650-821-4005 I flysfo.com




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                                                                                                        CCSF (PRA)-001520
